          Case 4:20-cr-00317-JM Document 60 Filed 03/31/23 Page 1 of 10

                               United States Court of Appeals
                                      For The Eighth Circuit
                                      Thomas F. Eagleton U.S. Courthouse
                                      111 South 10th Street, Room 24.329
                                    St. Louis, Missouri 63102
                                                                              VOICE (314) 244-2400
Michael E. Gans
                                                                                FAX (314) 244-2780
 Clerk of Court
                                                                              www.ca8.uscourts.gov

                                                            March 31, 2023


Mr. Jimmy C. Morris Jr.
MORRIS & ASSOCIATES                                                              4:20-cr-00317-JM
Suite 630
221 W. Second Street
Little Rock, AR 72201

       RE: 23-1615 United States v. Michael Marble

Dear Counsel:

        The district court has transmitted a notice of appeal and docket entries in this criminal
matter, and we have docketed them under the caption and case number shown above. Please
include the caption and the case number on all correspondence or pleadings submitted to the
court.

      Counsel in the case must supply the clerk with an Appearance Form. Counsel may
download or fill out an Appearance Form on the "Forms" page on our web site at
www.ca8.uscourts.gov.

        The district court has informed us that the $505 docketing and filing fees have not
been paid in the case, and you must either pay them immediately or file a motion with the
district court seeking permission to proceed in forma pauperis. Your duties as counsel are
defined by Eighth Circuit Rule 27B and the Eighth Circuit's Plan to Expedite Criminal Appeals.
Please review these materials which are on the "Rules and Publications" page of our web site.

        The court has established a briefing schedule for the case, a copy of which will be
forwarded under separate notice of docket activity. Please review the schedule and note the key
filing dates. You should also review Federal Rules of Appellate Procedure 28 and 32, as well as
Eighth Circuit Rules 28A and 32A. Useful information about briefing and the record on appeal
can be found at these links:

                     media.ca8.uscourts.gov/newcoa/notes/redactcr-egov.pdf
                       media.ca8.uscourts.gov/newcoa/forms/crbrchk.pdf
                      media.ca8.uscourts.gov/newcoa/forms/crrecord.pdf




   Appellate Case: 23-1615          Page: 1          Date Filed: 03/31/2023 Entry ID: 5260591
           Case 4:20-cr-00317-JM Document 60 Filed 03/31/23 Page 2 of 10

         Please note that the court has eliminated the requirement for a clerk's record in criminal
appeals, effective January 1, 2013. Record references to the district record made in pleadings and
briefs filed in this court must be to the district court docket. For example, if the motion to
suppress is district court docket number 11 and a party wishes to reference page 7 of the motion
to suppress, the reference in the brief should be in the format: (R. Doc. 11, at p.7). Transcript
references should be to Volume and page number (TR., Vol. 1, p. 123). Exhibit references
should be to the exhibit label attached in the district court proceedings: (Government Exh. 1,
page 3; Defense Exh. C, page 4). References to the Presentence Investigation Report should be to
page number: (PSR, p.17). Additional information should be provided whenever it is necessary
to clearly identify a document and avoid confusion.

        Paper copies of transcripts, Statements of Reasons, Presentence Investigation Reports and
exhibits will be still forwarded from the district court to the circuit clerk's office, and counsel
should check with the district court clerk's office to assure that all necessary materials are
transmitted on a timely basis.

        If a transcript will be required for the appeal, you should promptly contact the official
court reporter and take steps to order the transcripts and arrange for payment for their production.

        The court has directed the clerk's office to monitor and enforce compliance with the
briefing schedule. Failure to meet the briefing deadlines will result in the issuance of an order to
show cause and may lead to dismissal of the appeal, as well as the initiation of disciplinary
proceedings. Requests for extensions of time must be filed on a timely basis and should establish
good cause. Overlength briefs are strongly discouraged.

       On June 1, 2007, the Eighth Circuit implemented the appellate version of CM/ECF.
Electronic filing is now mandatory for attorneys and voluntary for pro se litigants proceeding
without an attorney. Information about electronic filing can be found at the court's web site
www.ca8.uscourts.gov. In order to become an authorized Eighth Circuit filer, you must register
with the PACER Service Center at https://www.pacer.gov/psco/cgi-bin/cmecf/ea-regform.pl.
Questions about CM/ECF may be addressed to the Clerk's office.

        If you have any questions about the schedule or procedures for the case, please contact
our office.

                                                      Michael E. Gans
                                                      Clerk of Court

CMH

Enclosure(s)

cc:      Mr. John William Crow
         Ms. Karen Dellinger
         Mr. Bart Dickinson
         Ms. Tammy H. Downs
         Ms. Elaine M Hinson
         Mr. Michael Marble

           District Court/Agency Case Number(s): 4:20-cr-00317-JM-1



      Appellate Case: 23-1615      Page: 2       Date Filed: 03/31/2023 Entry ID: 5260591
          Case 4:20-cr-00317-JM Document 60 Filed 03/31/23 Page 3 of 10

Caption For Case Number: 23-1615

United States of America

            Plaintiff - Appellee

v.

Michael Marble

            Defendant - Appellant




     Appellate Case: 23-1615       Page: 3   Date Filed: 03/31/2023 Entry ID: 5260591
         Case 4:20-cr-00317-JM Document 60 Filed 03/31/23 Page 4 of 10

Addresses For Case Participants: 23-1615

Mr. Jimmy C. Morris Jr.
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Suite 630
221 W. Second Street
Little Rock, AR 72201

Mr. John William Crow
U.S. ATTORNEY'S OFFICE
Eastern District of Arkansas
425 W. Capitol Avenue
P.O. BOX 1229
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Ms. Karen Dellinger
RICHARD SHEPPARD ARNOLD U.S. COURTHOUSE
C-115
500 W. Capitol Avenue
Little Rock, AR 72201

Mr. Bart Dickinson
U.S. ATTORNEY'S OFFICE
Eastern District of Arkansas
425 W. Capitol Avenue
P.O. BOX 1229
Little Rock, AR 72203

Ms. Tammy H. Downs
U.S. DISTRICT COURT
Eastern District of Arkansas
Room A149
600 W. Capitol Avenue
Little Rock, AR 72201-0000

Ms. Elaine M Hinson
C411
600 W. Capitol Avenue
Little Rock, AR 72201-0000

Mr. Michael Marble
PULASKI COUNTY DETENTION FACILITY
43167-509
3201 W. Roosevelt Road
Little Rock, AR 72204-0000




   Appellate Case: 23-1615     Page: 4     Date Filed: 03/31/2023 Entry ID: 5260591
                   Case 4:20-cr-00317-JM Document 60 Filed 03/31/23 Page 5 of 10


Forrest Dunn

From:                ca08ml_cmecf_Notify@ca8.uscourts.gov
Sent:                Friday, March 31, 2023 10:12 AM
Subject:             23-1615 United States v. Michael Marble "CRIMINAL case docketed" (4:20-cr-00317-JM-1)


***NOTE TO PUBLIC ACCESS USERS*** Judicial Conference of the United States policy permits attorneys of record and
parties in a case (including pro se litigants) to receive one free electronic copy of all documents filed electronically, if
receipt is required by law or directed by the filer. PACER access fees apply to all other users. To avoid later charges,
download a copy of each document during this first viewing.

                                              Eighth Circuit Court of Appeals

Notice of Docket Activity

The following transaction was filed on 03/31/2023

Case Name:       United States v. Michael Marble
Case Number: 23‐1615
Document(s):     Document(s)




Docket Text:
CRIMINAL case docketed. [5260591] [23‐1615] (Crystal Henderson)

Notice will be electronically mailed to:

Mr. John William Crow, Assistant U.S. Attorney: will.crow@usdoj.gov, valerie.andrews@usdoj.gov,
stephanie.mazzanti@usdoj.gov, john.webster@usdoj.gov, leslie.bright@usdoj.gov, caseview.ecf@usdoj.gov
Ms. Karen Dellinger, Court Reporter: Karen_Dellinger@ared.uscourts.gov, kdell619@yahoo.com
Mr. Bart Dickinson, Assistant U.S. Attorney: bart.dickinson@usdoj.gov, corey.taylor@usdoj.gov,
stephanie.mazzanti@usdoj.gov, john.webster@usdoj.gov, leslie.bright@usdoj.gov
Ms. Tammy H. Downs, Clerk of Court: ared_appeals@ared.uscourts.gov
Ms. Elaine M Hinson, Court Reporter: elaine_hinson@ared.uscourts.gov
Mr. Jimmy C. Morris, Jr.: j.c.morrisatty@gmail.com


Notice will be mailed to:

Mr. Michael Marble
43167‐509
PULASKI COUNTY DETENTION FACILITY
3201 W. Roosevelt Road
Little Rock, AR 72204‐0000

The following document(s) are associated with this transaction:
Document Description: Criminal Fee Status Letter
Original Filename: /opt/ACECF/live/forms/CrystalHenderson_231615_5260591_CriminalFeeStatusLetters_117.pdf
                                                             1
                   Case 4:20-cr-00317-JM Document 60 Filed 03/31/23 Page 6 of 10

Electronic Document Stamp:
[STAMP acecfStamp_ID=1105112566 [Date=03/31/2023] [FileNumber=5260591‐0]
[204cb5a263a744b1fa0c25f8a0bf159ec972d54a8077ab85f9d5e9f889a11f2cacc294218d86714e022c52d07a50c6e4efecc
36f8335584d9609fbd0eb46f454]]
Recipients:

       Mr. John William Crow, Assistant U.S. Attorney
       Ms. Karen Dellinger, Court Reporter
       Mr. Bart Dickinson, Assistant U.S. Attorney
       Ms. Tammy H. Downs, Clerk of Court
       Ms. Elaine M Hinson, Court Reporter
       Mr. Michael Marble
       Mr. Jimmy C. Morris, Jr.

The following information is for the use of court personnel:


DOCKET ENTRY ID: 5260591
RELIEF(S) DOCKETED:
DOCKET PART(S) ADDED: 7242287, 7242288, 7242289




                                                               2
           Case 4:20-cr-00317-JM Document 60 Filed 03/31/23 Page 7 of 10

                         UNITED STATES COURT OF APPEALS
                                    FOR THE EIGHTH CIRCUIT

                         CRIMINAL APPEAL BRIEFING SCHEDULE

Appeal No.      23-1615 United States v. Michael Marble

Date:           March 31, 2023

Briefing in criminal appeals is governed by Eighth Circuit's Plan to Expedite Criminal Appeals.
Counsel should also review the provisions of Eighth Circuit Rule 27B.

                                   APPEAL REQUIREMENTS

1.   On January 1, 2013, the court eliminated the clerk's record as the form for the record on
     appeal in criminal cases. Instead, the court will review the electronic version of the
     pleadings and orders maintained by the district court on its official docket. The remainder
     of the record materials required for appellate review of the case - transcripts, exhibits,
     Statements of Reasons, Presentence Investigation Reports and any other items not
     accessible from the electronic docket - will still be forwarded in paper format for the
     court's use. Dates are established for transmittal of these paper documents. Directions for
     citation to the district court electronic docket and other documents are provided in the
     docketing letter sent with this schedule. Failure to follow these citation directions may
     result in the rejection of your brief. Questions should be addressed to the circuit court
     clerk's office.

2.   Please promptly order any transcripts. If the appeal is proceeding in forma pauperis,
     requests for and payments of transcripts shall be processed through the district court's
     eVoucher system.

3.   If you were retained for the district court proceedings and the defendant is unable
     to bear the cost of the appeal, a motion for leave to proceed in forma pauperis should
     be filed with the district court. Counsel cannot be appointed and a transcript cannot
     be provided at government expense unless the defendant obtains IFP status.

4.   As this case was tried in three days or less, the court reporter shall file the transcript
     within 21 days of filing the notice of appeal.

5.   Review "Briefing Checklist" and "Pointers on Preparing Briefs" at:
     www.ca8.uscourts.gov/appeal-preparation-information . Please note appellant's brief
     must include a copy of the Judgment and Commitment
     Order in the Addendum.

6.   The government must file a single brief in multiple-defendant appeals.




     Appellate Case: 23-1615         Page: 1       Date Filed: 03/31/2023 Entry ID: 5260601
              Case 4:20-cr-00317-JM Document 60 Filed 03/31/23 Page 8 of 10

                                               GENERAL INFORMATION

         The following filing dates are established for the appeals. Dates are only extended upon
the filing of a timely motion establishing good cause. An order extending the time for filing a
brief also extends the filing date for the responding or replying party's brief. Filing dates can also
be accelerated if a party files its brief before the due date. Please refer to FRAP 25, FRAP 26 and
FRAP 31 for provisions governing filing and service. You may find the Federal and Eighth
Circuit rules, as well as practice aids, at: www.ca8.uscourts.gov/rules-procedures.



                                                        FILING DATES:

Transcript . . . . . . . . . .. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 04/20/2023
   ( Karen Dellinger, Elaine M Hinson )

PSI Report . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 04/20/2023

Appellant's Brief (with addendum). . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .. . . . . 05/04/2023
  ( Michael Marble )

Appellee's Brief. . . . . . . . . . . . . . . . . . . . . . . . . . . 21 days from the date the court issues the
                                                                       Notice of Docket Activity filing the brief.

Appellant's Reply Brief . . . . . . . . . . . . . . . . . . . . . .7 days from the date the court issues the
                                                                  Notice of Docket Activity filing the brief.


                                ALL BRIEFS AND APPENDICES SHOULD BE
                                  FILED WITH THE ST. LOUIS OFFICE




     Appellate Case: 23-1615                      Page: 2           Date Filed: 03/31/2023 Entry ID: 5260601
                   Case 4:20-cr-00317-JM Document 60 Filed 03/31/23 Page 9 of 10


Forrest Dunn

From:                ca08ml_cmecf_Notify@ca8.uscourts.gov
Sent:                Friday, March 31, 2023 10:18 AM
Subject:             23-1615 United States v. Michael Marble "Criminal 3 day briefing schedule" (4:20-cr-00317-JM-1)


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download a copy of each document during this first viewing.

                                              Eighth Circuit Court of Appeals

Notice of Docket Activity

The following transaction was filed on 03/31/2023

Case Name:       United States v. Michael Marble
Case Number: 23‐1615
Document(s):     Document(s)




Docket Text:
CRIMINAL BRIEFING SCHEDULE SET AS FOLLOWS: PSI report due 04/20/2023. Transcript due 04/20/2023. Brief of
appellant Michael Marble due 05/04/2023. Appellee(s) brief is due 21 days from the date the court issues the Notice of
Docket Activity filing the appellant(s) brief. Appellant reply brief is due 7 days from the date the court issues the Notice
of Docket Activity filing the appellee's brief. [5260601] [23‐1615] (Crystal Henderson)

Notice will be electronically mailed to:

Mr. John William Crow, Assistant U.S. Attorney: will.crow@usdoj.gov, valerie.andrews@usdoj.gov,
stephanie.mazzanti@usdoj.gov, john.webster@usdoj.gov, leslie.bright@usdoj.gov, caseview.ecf@usdoj.gov
Ms. Karen Dellinger, Court Reporter: Karen_Dellinger@ared.uscourts.gov, kdell619@yahoo.com
Mr. Bart Dickinson, Assistant U.S. Attorney: bart.dickinson@usdoj.gov, corey.taylor@usdoj.gov,
stephanie.mazzanti@usdoj.gov, john.webster@usdoj.gov, leslie.bright@usdoj.gov
Ms. Tammy H. Downs, Clerk of Court: ared_appeals@ared.uscourts.gov
Ms. Elaine M Hinson, Court Reporter: elaine_hinson@ared.uscourts.gov
Mr. Jimmy C. Morris, Jr.: j.c.morrisatty@gmail.com


Notice will be mailed to:

Mr. Michael Marble
43167‐509
PULASKI COUNTY DETENTION FACILITY
3201 W. Roosevelt Road
Little Rock, AR 72204‐0000

                                                              1
                  Case 4:20-cr-00317-JM Document 60 Filed 03/31/23 Page 10 of 10

The following document(s) are associated with this transaction:
Document Description: Briefing Schedule
Original Filename: /opt/ACECF/live/forms/CrystalHenderson_231615_5260601_Criminal3DayBriefingSchedules_206.pdf
Electronic Document Stamp:
[STAMP acecfStamp_ID=1105112566 [Date=03/31/2023] [FileNumber=5260601‐0]
[89b309e2c3ed7ac540683e19ebdd2d9f3361863e4accab9134dd408b01f9297a8a4debcbf75f2d31d8320a1a37e35e3b10
2a57844a743dce28a5a3363f1889eb]]
Recipients:

       Mr. John William Crow, Assistant U.S. Attorney
       Ms. Karen Dellinger, Court Reporter
       Mr. Bart Dickinson, Assistant U.S. Attorney
       Ms. Tammy H. Downs, Clerk of Court
       Ms. Elaine M Hinson, Court Reporter
       Mr. Michael Marble
       Mr. Jimmy C. Morris, Jr.

The following information is for the use of court personnel:


DOCKET ENTRY ID: 5260601
RELIEF(S) DOCKETED:
DOCKET PART(S) ADDED: 7242303, 7242304




                                                               2
